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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NORTH DAKOTA

 UNITED STATES OF AMERICA                         INDICTMENT

                      v.                          Case No. ________________________

 SIJIE LIU                                        Violation: 18 U.S.C. §1001

                                    False Statements

The Grand Jury Charges:

       On or about March 5, 2019, within the District of North Dakota,

                                        SIJIE LIU

did knowingly and willfully make a false, fictitious, and fraudulent statement to an

officer with the United States Bureau of Customs and Border Protection concerning facts

material to a matter within the jurisdiction of the United States Bureau of Customs and

Border Protection, an agency of the United States. Specifically, defendant stated that

defendant was only seeking entry into the United States for the sole purpose of shopping

in Grand Forks, North Dakota. This statement was false in that, at the time defendant

was seeking entry into the United States, defendant failed to disclose that defendant

intended to go to a mail receiving business in Pembina, North Dakota, for the purpose of

obtaining a toxin, which defendant had previously ordered on the Internet;
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     In violation of Title 18, United States Code, Section 1001.

                                               A TRUE BILL:


                                               /s/ Foreperson
                                               Foreperson


/s/ Christopher C. Myers
CHRISTOPHER C. MYERS
United States Attorney

NWC:ljc
